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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRIC'I` OF FLORIDA

BRENDA BELL, individuaiiy and on behalf
of ali others similarly situated,

Plaint#f`
v.

R()YAL SEAS CRUISES, INC., a Florida
corporation,

Defendam‘.

 

 

Case No.

CLASS ACTION COMPLAINT

DEMAND F{)R JURY rI`RIAL

Plaintii`f Brenda Bell (“Bell” or “Plaintiff”) brings this Class Action Cornplaint and

Demand for jury Trial (“Cornplaint") against Royal Seas Cruises, inc. (“Royal Seas” or

“Defendant”) to: (i) stop its practice of placing cails using “an artificial or prerecorded voice” to

the telephones of consumers nationwide without its prior express Written consent, (2) enjoin

Defendant from continuing to place prere-corded telephone calls to consumers who did not

provide its prior Written express consent to receive them, (3) stop its practice of placing calls to

consumers Whose numbers have been listed on the national Do Not Call Registry, (4) stop its

practice of placing pre-recorded calls to consumers Who have asked that the calis stop, and (5)

obtain redress for all persons injured by its Conduci.

Plaintiff, for her Cornplaint, alleges as follows upon personal knowledge as to herself and

her own acts and experiences, and, as to ali other matters, upon information and belief, including

investigation conducted by her attorneys

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NATURE OF THE ACTION

l. Defendant Royal Seas is a travel company based in Fort Lauderdale, Florida that
offers cruise vacations to The Baharnas.

2. Unfortunately for consumers, Defendant casts its marketing net too wide That is,
in an attempt to promote its cruises and to generate sales, Defendant conducted (and continue to
conduct) a wide-scale telernarl<etirig campaign that features the repeated making of unsoiicited
pre-recorded voice message phone calis to consumers’ phones in violation of the Telephone
Consurner Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

3. By making the prerecorded calls at issue in this Complaint, Defendant caused
Plaintiff and the`other members ofthe Class actual harm and cognizable legal injury. This
includes: (a) the aggravation and nuisance and invasions of privacy that result froin the receipt of
such calis, (b) Wear and tear on their telephones, (c) loss of battery life, (d) loss of value realized
for monies consumers paid to its carriers for the receipt of such calls, and (e) the diminished use,
'enjoyment, value, and utility of its telephone plans. Furtherrnore, Det`endant made the calls
knowing they interfered with Plaintiff and the other Class members’ use and enjoyment of, and
the ability to access their phones, including the related data, apps, software, and hardware
components

4. The TCPA was enacted to protect consumers from prerecorded phone calis like
those alleged and described herein. In response to Defendant’ unlawful conduct, Plaintiff brings
this action seeking injunctive relief requiring Defendant to cease all prerecordcd telephone

calling activities to telephones without first obtaining prior express consent required by the

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TCPA, an award of statutory damages to the members of the Class under the TCPA, plus costs,
pre and postjudgment interest, and reasonable attorneys’ fees.
5. Defendant also made repeated calls to numbers listed on the National Do Not Call

Registry and to persons who have asked Defendant to stop calling

PARTIES
6. Plaintiff Brenda Bell is a natural person and resident of Springfield, Clark County,
Ohio.
7. l)efendant Royal Seas is a corporation incorporated and existing under the laws of

the State of Florida with its principal place of business located at 1770 NW 64th Street, Suite 600,
Fort Lauderdale, Florida 33309.
JURISDICTION AND VENUE

3. "l`his Court has jurisdiction over the subject matter of this action under 28 U.S.C.
§ 1331, as the action arises under the TCPA, Which is a federal statute

9. 'l`he Court also has jurisdiction under the Class Action Fairness Act, 28 U.S.C, §
1332(d) er seq. (“CAFA”) because there are over lO{} class members, there is minimal diversity,
and there is over $5,000,000 at issue When the claims of the Classed are aggregated None of the
exceptions to CAFA applies

19. 'i'his Court has personaljurisdiction over Defendant because Defendant maintains
its principal place of business in this District, conducts a significant amount of business in this
District, solicits consumers in this District and throughout the United States, made and continues
to make unsolicited prerecorded calls from this District, and because the wrongful conduct
giving rise to this case occurred in and/or emanated from this District. On information and belief,

the members of Defendant reside in this District.

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ll. Venue is proper in this District under 28 U.S.C. § l39l(b) because Defendant
maintains its principal place of business in this District, conducts a significant amount of
business within this District and markets from this District. Further, the wrongful conduct giving
rise to this case occurred in and/or emanated from this District.

C(}MMON FACTUAL ALLEGATIONS

12. in recent years, companies such as Defendant have turned to unsolicited
teleinarketing as a Way to increase their customer base. Widespread teleniarl§eting is a primary
method by which Det`endant recruits new customers

l3. As explained by the F ederal Cornrnunications Cornmission (“FCC”) in its 2012
order, the 'I`CPA requires “prior express written consent for all autodialed or prerecorded
telernarl<eting calls to wireless numbers and residential iines.” fn the Matrer ofRules and

l Regularions Implementing the Telephone Consumer Protecrion Act 0f1991, CG No. 02~278,
FCC 12»21, 27 FCC Rcd. 1830 il 2 (Feb. 15, 2012).

l4. ln violation of this rule, Defendant fails to obtain any prior express written
consent to make these prerecorded teletnarketing calls.

15. Defendant further places calls to persons whose numbers are on the National Do
Not Call Registry and even after people ask that the calls stop (thus revoking any supposed
consent l)efendant may claim to have had).

ltS. At all times material to this Cornplaint, l)efendant Was and remains fully aware
that unsolicited teleniarketing calls are being made to consumers’ telephones through its own
efforts and its agents All calls were made on behalf of, and for the benefit ot`, both Defendant.

l7. Defendant Royal Seas knowingly made (and continues to make) unsolicited

telernarketing calls without the prior express written consent of the call recipients in so doing,

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Defendant not only invaded the personal privacy of Plaintifl` and members ol` the putative Class,
it also intentionally and repeatedly violated the TCPA.
FACTS SPECIFIC ’I`O PLAIN'I`lFF BELL

18. Plaintiff registered her phone number ending in 3250 on the National Do Not Call
Registry on July 8, 2015.

19. On November 6, 2018, Plaintiff received an unsolicited call horn Royal Seas on
her cellphone. The call consisted of a pre-recorded voice message and originated from the phone
number 937-7l9-5553. On this cail, Plaintiff asked that Defendant stop calling her,

2(). Despite this request, Plaintifi` received additional calls from l)efendant on
November 8, 20l8 (i?rorn phone number 937~719-5557), on Noveniber 13, 20l8 (i`rorn phone
number 937-719-5543), on Novernber l4, ZOl 8 (frorn phone number 93'7-719~5544), and on
Novernber l6, 2018 (t`rom phone number 937~7l9-5558).

Zl. On information and belief, the calls were pre-recorded voice calls.

22. Plaintiff never provided her prior express written or oral consent to Det`endant to
call her. l

23. The call was for the purpose of marketing Defendant’s cruise products and
services

24. Plaintiff had never done any business with Defendant and had no existing
business relationship

25. By making unauthorized prerecorded calls as alleged herein, Defendant has
caused consumers actual harm in the form of annoyance, nuisance, and invasion of privacy in
addition, the calls disturbed Plaintift’s use and enjoyment of her phone, and caused wear and tear

to the phone’s hardware (including the phone’s battery). ln the present case, a consumer could be

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subjected to many unsolicited pre-recorded voice calls as the Defendant ignores the requirement
of prior express written consent

26. In order to redress these injuries, Plaintiff, on behalf of herself and the Classes of
similarly situated individuals set forth below, brings suit under the Telephone Consnmer
Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited pre-recorded voice calls to
cell telephones

27. On behalf of the Class, Plaintiff seeks an injunction requiring Defendant to cease
all unlawful telemarketing activities and an award of statutory damages to the class members,
together with costs, pre~ and post-judgment interest, and reasonable attorneys’ fees.

CLASS ALLEGATI{)NS

28. Plaintiff brings this action pursuant to Fedcral Rule of Civil l"rocedure 23(b)(2)
and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of
the following Classes:

Prarecorg_lmc_;,gl.r No Consent Class: All persons in the United States from four years

prior to the filing of the instant action to the date notice is sent to the Class who:

{l) Defendant (or a third person acting on behalf of l}efendant) made calls, (2) to

the person’s cellphone or residential number, (3) using a pre-recorded voice or

message, (¢l) for whom Defendant claims it obtained prior express consent to call

in the same manner and through the same source(s) as Defendant claims it obtained

prior express consent to call the Plaintiff.

Stop Class: All members of the Prerecorded No Consent Class who requested not
to be called but received at least one additional call.

DNC Class: All persons in the United States (l) who, after their phone numbers
had been listed on the National l)o Not Call Registry for at least 30 days, (2) Were
called by Defendant at least twice in any twelve-month period, (3) for the same
purpose as l)efendant placed calls to the Plaintiff; (4) after having obtained consent
to call in the same manner as consent was obtained to call the Plaintiff.

29. The following individuals are excluded from the Classes: (l) any lodge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

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subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents
have a controlling interest and their current or former employees, officers and directors; (3)
Plaintiff’ s attorneys; (4) persons who properly execute and file a timely request for exclusion
from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;
and (6) persons whose claims against l)efendant have been fully and finally adjudicated and/or
released Plaintiff anticipates the need to amend the class definitions following appropriate class
discoveryl

30. Numerosity: The exact size of each Class is unknown and not available to
Plaintiff at this tixne, but it is clear that individual joinder is impracticable On information and
belief, Defendant made prerecorded calls to thousands of consumers who fall into the definition
of the Classes. Members of the Ciasses can be identified through De_fendant’s records and by
reference to other objective criteria

31. Commonality and Predeminance: There are several questions of law and fact
common to the claims of Plaintiff and the Classes, and those questions predominate over any
questions that may affect individual members of the Classes. Cornmon questions for the Classes l

include, but are not necessarily limited to the foilowing:

(a) whether Defendant’s conduct constitutes a violation of the
TCPA;
(b) whether Defendant obtained prior express consent to contact

any class members using a pre-recorded voice;

(c) whether Defendant made the calls using a prerecorded voice or
recorded message;
(d) whether Defendant placed calls to persons who previously asked for the

calls to stop;

(e) whether l)efendant placed multiple calls to persons on the Do Not Call
Registry; and

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(f) whether members of the Class are entitled to treble damages
based on the willfulness of Defendant’s conduct.

32. Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Classes, and has retained counsel competent and experienced in class
actions. l’laintiff has no interests antagonistic to those of the Class Members, and Defendant has
no defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting
this action on behalf ofthe members of the Classes and have the financial resources to do so.
Neither Plamtiff nor her counsel has any interest adverse to the Classes.

33. Appropriateness: This class action is also appropriate for certification because
Dei`endant has acted or relused to act on grounds generally applicable to the Classes and as a
whole thereby requiring the Court’s imposition of uniform relief to ensure compatible standards
of conduct toward the members of the Classes and making final class-wide injunctive relief and
corresponding declaratory relief appropriate Defendant’s business practices apply to and affect
the members of the Classes uniformly, and Plaintifi`s challenge of those practices hinges on
Defendant’s conduct with respect to the Classes as a whole, not on facts or law applicable only to
Plaintiff. Additionally, the damages suffered by individual members of the Classes will likely be
small relative to the burden and expense of individual prosecution of the complex litigation
necessitated by Defendant’s actions Thus, it would be virtually impossible for the members of
the Classes to obtain effective relief from Defendant’s misconduct on an individual basis A class
action provides the benefits of single adjudication, economics of scale, and comprehensive
supervision by a single court. Economies of tirne, effort, and expense will be fostered and
uniformity of decisions will be ensured. No governmental action has been brought covering this

same Defendant and subject matter.

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FIRST CAUSE OF ACTION
Telepl:ione Consumer Protection Act
(Violation of 47 U.S.C. § 227)
(On Behalf of Plaintiff and the Prerecorded No Consent Class)

34, Plaintiff repeats and realleges the above paragraphs of this Complaint and
incorporates them herein by reference

35. Defendant made prerecorded calls to telephone numbers belonging to Plaintiff
and other members of the Prerecorded No Consent Class without first obtaining prior express
consent to receive such calls as required by the TCPA and its implementing regulations

36. Defendant made the calls using a pre-recorded voice message

37. By making the prerecorded calls to Plaintiff and the telephone numbers of
members of the Prerecorded No Consent Class without their prior express consent, and by
utilizing pre-recorded voice message to make those calls, Defendant violated 47 U.S.C. §
227(b)(i)(A)(iii) and 47 U.S.C. § 227(b)(i)(B).

38. The calls were for telemarketing purposes and announced the commercial
availability of Defendant’s cruise products and services

39. Neither Plaintiff nor any other member of the alleged Class provided Defendant
with prior express written or oral consent to call.

40. Defendant has, therefore, violated 47 U.S.C. § 227(b)(l)(A)(iii) and 47 U.S.C. §
227(b)(1)(B). As a result of Defendant’s conduct, Plaintiff and the other members of the
Prerecorded No Consent Class are each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum
of SSO0.00 in damages for each violation of such act.

4 l. In the event that the Court determines that Defendant’s conduct was willful and

knowing, it may, under 47 U.S.C. § 227(b)(3)(€), treble the amount of Statutory damages

recoverable by Plaintiff and the other members of the Prerecorded No Consent Class.

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SECOND CAUSE OF ACTION
Violation of 47 C.F.R. § 64.1200(d) et seq.
(()n behalf of Plaintiff and the DNC Class)

42. Plaintiff incorporates the foregoing allegations as if fully set forth herein

43. 'l`he 'l`CPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
who has registered his or her telephone number on the national do-not-call registry of persons
who do not wish to receive telephone solicitations that is maintained by the federal government.”

44. 47 C.F.R. § 64.1200(€), in turn, provides that § 64.l200(c) and (d) “are applicable
to any person or entity making telephone solicitations or telemarketing calls to wireless
telephone numbers to the extent described in the FCC’s lilly 3, 2003 Report and Order.

45. The July 3, 2003 Report and Order provides as follows:

The Commission’s rules provide that companies making telephone solicitations to

residential telephone subscribers must comply with time of day restrictions and

must institute procedures for maintaining do-not-call lists For the reasons

described above, we conclude that these rules apply to calls made to Wireless

telephone numbers We believe that wireless subscribers should be afforded the

same protections as wireline subscribers1

46. 47 C.F.R. § 64.1200(d) further provides that “[n}o person or entity shall initiate
any call for telemarketing purposes to a residential telephone subscriber unless such person or
entity has instituted procedures for maintaining a list of persons who request not to receive
telernarketing calls made by or on behalf of that person or entity. The procedures instituted must

meet the following minimum standards:

(l) Written policy. l’ersons or entitles making calls for telernarketing purposes must
have a written policy, available upon demand, for maintaining a do-not-call list.

 

1illules and Regulations Implementing the Telephone Consumer Protectl`on Act of1991, CG
Docket No. 02~278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https ://apps.fcc.gov/educs_public/attachmatch/FCC-GB-l 53Al .pdf

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(2) Training of personnel engaged in telemarketing. Personnel engaged in any
aspect of telemarl<eting must be informed and trained in the existence and use of
the do-not-call list.

(3) Recording, disclosure of do-not-call requests If a person or entity making a call
for telernari<eting purposes (or on whose behalf such a call is made) receives a
request nom a residential telephone subscriber not to receive calls from that person
or entity, the person or entity must record the request and place the subscriber’s
name, if provided, and telephone number on the do»not-»call list at the time the
request is made. Persons or entities making calls for telernarketing purposes (or on
whose behalf such calls are made) must honor a residential subscriber’s do~not~call
request within a reasonable time from the date such request is made This period
may not exceed thirty days from the date of such request . . . .

(4) ldentification of sellers and telemarl<eters. A person or entity making a call for
telemarketing purposes must provide the called party with the name of the
individual caller, the name of the person or entity on whose behalf the call is being
made, and a telephone number or address at which the person or entity may be
contacted 'l`he telephone number provided may not be a 900 number or any other
number for which charges exceed local or long distance transmission charges

(5) Affiliated persons or entities In the absence of a specific request by the

subscriber to`the contrary, a residential subscriber’s do-not-call request shall apply

to the particular business entity making the call (or on Whose behalf a call is made),

and will not apply to affiliated entities unless the consumer reasonably would

expect them to be included given the identification of the caller and the product

being advertised

(6) Maintenance of do~not'call lists. A person or entity making calls for

telernarketing purposes must maintain a record of a consumer’s request not to

receive further telemarketing calls. A do-not~call request must be honored for 5

years from the time the request is made

47. Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
repeated telephone solicitations to telephone subscribers such as Plaintiff and the I)NC Class
members who registered their respective telephone numbers on the National Do Not Call
Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government These consumers requested to not receive calls from

l)efendants, as set forth in 47 C.F.R. § 64.l200(d)(3).

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48. Defendant also violated 47 C.F.R. § 64.1200(d) by failing to have a written policy
regarding do not call requests available on demand and by failing to inform or train its personnel
regarding any such internal do not call list.

49. Defendant made more than one unsolicited telephone call to Plaintiff and other
members of the DNC Class within a lZ-month period without their prior express consent to
receive such calls Plaintiff and other members of the DNC Class never provided any form of
consent to receive telephone calls from Defendants.

50. Defendant does not have a current record of consent to place telemarketing calls
to them.

5 l. Defendant never obtained prior express consent to place calls to Plaintiff or the
other members of the DNC Class. 4

' 52. Defendant violated 47_C.F.R. § 64.1200(d) by initiating calls for telernarketing
purposes to residential and Wireless telephone subscribers, such as Plaintiff and the DNC Class,
without instituting procedures that comply With tbe regulatory minimum standards for
maintaining a list of persons who request not to receive telemarketing calls from them.

53. Defendant violated 47 U.S.C. § 227(0)(5) because Plaintifi` and the members of
the DNC Class received more than one telephone call (at least two) in a lZ-Inonth period made
by or on behalf of Defendants in violation of 47 C.F.R. § 64.1200, as described above. As a
result of Det`endants’ conduct as alleged herein, Plaintiff and the DNQ Class suffered actual
damages and, under section 47 U.S.C. § 227(0), are each entitled, inter alia, to receive up to

$500 in damages for such violations of 47 C.F.R. § 64.1200.

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54. To the extent Defendant’s misconduct is determined to be willful and knowing,
the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
recoverable by Plaintiff and the DNC Class.

’I`HIRD CAUSE OF ACTION
Violation of 47 U.S.C. § 227(b), et seq.
(On behalf of Plaintiff and the Stop Class)

55. Plaintiff incorporates the foregoing allegations as if set forth fully herein

56. Plaintiff and the other members of the Stop Class requested that Det`endant and its
agents stop placing calls to them.

57. Despite such requests, Defendant placed additional autodialed calls to the Stop
class members »

58. Any consent to call had been expressly revoked

59. As a result of Defendant’s unlawful conduct, Plaintiff and the members of the
Stop Class suffered actual damages in the form of monies paid to receive the unsolicited
telephone calls on their cellular phones, lost data, and other damages, and, under Section
227(b)(3)(B) are each entitled to, inter alia, a minimum of $500 in damages for each such
violation of the TCPA.

66. Should the Court determine that Defendant’s conduct Was Willful and knowing,
the Court may, pursuant to Section 227(b)(3), treble the amount of statutory damages
recoverable by Plaintiff and the other members of the Stop Class.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Brenda Bell, individually and on behalf of the Class, prays for

the following relief:

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1. An order certifying the Class as defined above, appointing Plaintifl` Bell as the
representative of the Class, and appointing her counsel as Class Counsel;

2. An award of actual monetary loss from such violations or the sum of live hundred
dollars ($500.00) for each violation, whichever is greater all to be paid into a common fund for

the benefit of the Plaintiff and the Class lvlernbers;

3. Treble damages in case willful or knowing violations are proven;
4. An order declaring that Defendant’s actions, as set out above, violate the 'l`CPA;
5. An injunction requiring Defendant to cease all unsolicited pre-recorded calling

activities and otherwise protecting the interests of the Class;

6. An award of reasonable attorneys’ fees and costs to be paid out of the common
fund prayed for above; '
7. An award of pre- and post~judgment interest; and
8. Such other and further relief that the Court deems reasonable and just.
JURY })EMAND

Plaintiff requests a trial by jury of all claims that can be so tried

Respectfully Submitted,
BRENDA BELL, individually and on behalf of a
Class of similarly situated individuals

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One of Plaintiff’ s Attorneys

Law Office of Ryan S. Shipp, PLLC

Ryan S. Shipp, Esq. (FL Bar Number 52883)
814 W. Lantana Rd. Suite l,

Lantana, Florida 33462

(561) 699-0399

Email: Ryan@shipplawoffic-e.com

Steven L. Woodrow’l‘

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swoodrow@Woodroneluso.corn
Patrick H. Pelaso*
ppeluso@woodrowpeluso.com
Woodrow & Peluso, LLC

3900 E. Mexico Avenue, Suite 300
Denver, Colorado 80210

Tel: 720-213~0675

Fax: 303-927-0809

Aftorneysfor Plaintijfand the Class

* Pro Hac Vice Adml'ssion to Be Soughf

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